     Case 2:20-cv-06862-DSF-PVC Document 22 Filed 05/10/21 Page 1 of 3 Page ID #:134




1
      Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
2     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
3     21550 Oxnard St. Suite 780,
      Woodland Hills, CA 91367
4
      Phone: 877-206-4741
5     Fax: 866-633-0228
6
      tfriedman@toddflaw.com
      abacon@toddflaw.com
7     Attorneys for Plaintiff
8
                         UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
      HOMAYOUN SADR-ARHAMI                     )      Case No. 2:20-cv-06862-DSF-PVC
11    individually and on behalf of all others
      similarly situated,                      )
12                                             )      JOINT STIPULATION OF
      Plaintiff,                               )      DISMISSAL OF ACTION WITH
13
             vs.                               )      PREJUDICE AS TO THE NAMED
14
                                               )      PLAINTIFF AND WITHOUT
15
      TAX RISE INC.; ESSAM                     )      PREJUDICE AS TO THE
      ABDULLAH A.K.A. SAM PRICE;
      FIDELITY TAX RELIEF LLC;                 )      PUTATIVE CLASS
16
      BRIDGLEY INC.; ALEEVLY INC.; )
17    PRICE HOLDINGS, INC.; OPTIMA )
      ADVOCATES, INC., and DOES 1
18    through 10, inclusive,                   )
                                               )
19    Defendant(s).
20
            NOW COME THE PARTIES by and through their attorneys to respectfully
21
      move this Honorable Court to dismiss this matter with prejudice as to the named
22
      Plaintiff and without prejudice as to the Putative Class alleged in the complaint,
23
      pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear
24
      their own costs and attorney fees. A proposed order has been concurrently
25
      submitted to this Court.
26

27

28




                                       Stipulation to Dismiss- 1
     Case 2:20-cv-06862-DSF-PVC Document 22 Filed 05/10/21 Page 2 of 3 Page ID #:135




1                       Respectfully submitted this 10th Day of May, 2021,
2
                                            By: s/Todd M. Friedman, Esq.
3                                             TODD M. FRIEDMAN
4                                             Attorney for Plaintiff
5

6                                            By: s/ Anthony L. Marcus, Esq.
7
                                                    ANTHONY L. MARCUS
                                                    Attorneys for Defendant
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                     Stipulation to Dismiss- 2
     Case 2:20-cv-06862-DSF-PVC Document 22 Filed 05/10/21 Page 3 of 3 Page ID #:136




1     Filed electronically on this 10th Day of May, 2021, with:
2
      United States District Court CM/ECF system
3

4     Notification sent electronically via the Court’s ECF system to:
5
      Honorable Dale S. Fischer
6     United States District Court
7
      Central District of California

8     And all counsel registered on ECF.
9

10
      This 10th Day of May, 2021.
11
      s/Todd M. Friedman, Esq.
12    TODD M. FRIEDMAN
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                       Stipulation to Dismiss- 3
